                 Case 7:20-cv-05054-CS Document 109 Filed 12/29/20 Page 1 of 1

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       December 29, 2020

       Via ECF & Email
       Honorable Cathy Seibel, U.S.D.J.
       Southern District of New York
       300 Quarropas Street
       White Plains, NY 10601

       Re:     McClain v. AutoExpo Ent. Inc., et al., 20-CV-5054 (CS)

       Dear Judge Seibel:

       My office, together with co-counsel, represents the plaintiff, Nikkia McClain, in the
       above-referenced action.

       I am writing to apologize for not filing a revised complaint by yesterday’s deadline.
       This failure was a result of a family medical emergency that started on December 4,
       2020. I have related the details to Paul H. Aloe, Esq., but I do not want to make the
       private medical details part of the public record. If necessary, however, I can file a
       declaration under seal.

       Because of this emergency, I am requesting an extension to the deadline to amend
       to January 6, 2021. All parties have consented to this request, provided all of the
       dates are adjusted by eight days, including the deadline for defendants to move with
       respect to the anticipated amended complaint (i.e., January 27, 2021).

       Respectfully,

       /s/ Brian L. Bromberg
       Brian L. Bromberg

       cc:     All Counsel of Record (Via ECF)
